
533 Pa. 87 (1993)
619 A.2d 1058
J. KINDERMAN &amp; SONS, INC., t/a Brite Star Manufacturing Company, Appellant,
v.
UNITED NATIONAL INSURANCE COMPANY and Lawrence Okoniewski, Jr., Administrator of the Estate of Christine Okoniewski, Deceased, and Lawrence A. Okoniewski, Jr., and Linda Okoniewski, as individuals in their own right, and Stanton Discount Pharmacy, Inc. and George Kellan, t/a Smyrna Discount and/or Smyrna Discount Drugs and Nathan Schecter and Sons and J. Orman, Inc., and World Traders and Kiu Hung Industrial Co., Ltd. and the Wirkman Company and Republic Hogg Robinson of Pennsylvania, Inc.
Supreme Court of Pennsylvania.
Argued January 25, 1993.
Decided February 17, 1993.
Roger F. Cox, Philadelphia, for J. Kinderman.
Frederick Lachat, Jr., Philadelphia, for United Nat. Ins. Co.
Before NIX, C.J., and LARSEN, FLAHERTY, ZAPPALA, PAPADAKOS, CAPPY and MONTEMURO, JJ.

ORDER
PER CURIAM:
Order affirmed.
FLAHERTY and ZAPPALA, JJ., dissent.
